             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                             AT KNOXVILLE




UNITED STATES OF AMERICA                    )
                                            )
v.                                          )      No. 2:08-CR-80
                                            )
HASKELL L. HUMPHREY                         )


                         MEMORANDUM AND ORDER


            This criminal case is before the court on the defendant’s motion for

revocation of the detention order [doc. 103]. 18 U.S.C. § 1345(b). The defendant

argues that there were conditions that would reasonably assure the safety of the

community and his presence at further proceedings. The defendant argues that

the magistrate judge relied on matters not in evidence and improperly took

judicial notice of unproven facts. The government has not responded to the

defendant’s motion, and the motion is ripe for the court’s consideration. For the

reasons discussed below, the defendant’s motion will be denied.

            On February 27, 2009, Magistrate Judge Dennis Inman entered an

order detaining the defendant pending trial in this methamphetamine case [doc.

91]. Magistrate Judge Inman found that there was probable cause to believe that

the defendant had committed a drug offense for which the punishment was ten

years or more and that the defendant had not rebutted the presumption that there




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was no condition or combination of conditions that would reasonably assure the

appearance of the defendant or the safety of the community. The evidence at the

detention hearing was that the defendant allegedly supplied pseudoephedrine for

manufacturing methamphetamine, and there was evidence that the defendant

was allegedly involved in some thefts of tanks of anhydrous ammonia from area

businesses, also a necessary ingredient in the manufacture of

methamphetamine. Magistrate Judge Inman noted that the defendant tested

positive for both marijuana and methamphetamine when he was arrested on

these charges, and there was evidence that the defendant had been addicted to

methamphetamine for some time. The defendant also has a prior drug conviction

(misdemeanor) and arrests for assault.

             The defendant contends that the testimony of his father that he

would take in the defendant and supervise him if he was released demonstrates

that there are conditions that would meet the criteria for release into the

community pending trial. The defendant argues that with the supervision of his

father, electronic monitoring, and drug testing and counseling, he could be safely

released into the community.

             The court disagrees with the defendant’s contention, and finds that

the defendant has not rebutted the presumption that he should be detained. 18

U.S.C. § 3142(e). The defendant is charged with three counts: conspiracy to

distribute methamphetamine, conspiracy to manufacture methamphetamine, and

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possession of equipment, chemicals, etc. used to manufacture

methamphetamine. These charges, if proven, could result in a very lengthy

sentence for the defendant. Further, it appears that the defendant is a

methamphetamine addict, and as Magistrate Judge Inman said, he is a

“revocation guaranteed to happen.” The court agrees with the magistrate judge

that there is no condition or combination of conditions that will assure the safety

of the community if the defendant is released.

             Therefore, it is hereby ORDERED that the defendant’s motion is

DENIED, and the defendant shall remain detained until the trial or other

disposition of this case.


                                              ENTER:



                                                      s/ Leon Jordan
                                              United States District Judge




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